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                          DISTRICT COURT OF THE VIRGIN ISLANDS
                           DIVISION OF ST. THOMAS AND ST. JOHN

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )
                                              )
                     v.                       )       Case No. 3:18-cr-0037
                                              )
AUBREY FRETT,                                 )
                                              )
                     Defendant.               )
                                              )

                                          ORDER

       BEFORE THE COURT is Aubrey Frett’s motion for a judgment of acquittal on Count

One of the Indictment. For the reasons stated in the accompanying Memorandum Opinion of

even date, the Court will grant the motion. Accordingly, it is hereby

       ORDERED that Frett’s motion for a judgment of acquittal on Count One of the

Indictment is GRANTED; it is further

       ORDERED that Count One of the Indictment charging Aubrey Frett with Possession

of a Firearm with an Obliterated Serial Number is DISMISSED with prejudice; and it is

further

       ORDERED that Frett’s motion, ECF No. 97, for an order on his motion for a judgment

of acquittal is MOOT.



Dated: October 2, 2020                            /s/ Robert A. Molloy _________
                                                  ROBERT A. MOLLOY
                                                  District Judge
